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                                                              JS-6



                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA



WAYNE LEONARD JONES,                  Case No. 2:20-cv-06506-SK
                  Plaintiff,          JUDGMENT
             v.
KILOLO KIJAKAZI, Acting
Commissioner of Social Security,
                  Defendant.



     It is the judgment of this Court that the decision of the Administrative
Law Judge is AFFIRMED. Judgment is hereby entered in favor of
Defendant.


Date: November 12, 2021            ___________________________
                                   HON. STEVE KIM
                                   U.S. MAGISTRATE JUDGE
